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                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA



                                            )
JERRI L. BERNER AND RON                     )    Case Number
BERNER, h/w                                 )
                                            )
               Plaintiff                    )    CIVIL COMPLAINT
                                            )
         vs.                                )
                                            )    JURY TRIAL DEMANDED
NATIONWIDE RECOVERY                         )
SYSTEMS                                     )
         Defendant                          )



                            COMPLAINT AND JURY DEMAND
         COMES NOW, Plaintiff, Jerri L. Berner and Ron Berner, h/w, by and through

their undersigned counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire

complaining of Defendant and respectfully avers as follows:



                       I.         INTRODUCTORY STATEMENT
         1.    Plaintiff, Jerri L. Berner and Ron Berner, h/w KHUHLQDIWHU³3ODLQWLIIs´ are

adult natural persons and bring this action for actual and statutory damages and other relief

against Defendant for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §

1692 et seq. ³)'&3$´ ZKLFKSURKLELWVGHEWFROOHFWRUVIURPHQJDJLQJLQDEXVLYH

deceptive and unfair practices.



                                   II.   JURISDICTION
         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.
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        3.      Venue in this District is proper in that the Defendant maintains a registered

office in this District.



                                      III.    PARTIES
        4.      Plaintiff, Jerri L. Berner, is an adult natural person residing at 1029 N. 45th,

Waco, TX 76710. At all times material and relevant heretR3ODLQWLIILVD³FRQVXPHU´DV

defined by the FDCPA, 15 U.S.C. § 1692a (2).

        5.      Plaintiff, Ron Berner, is an adult natural person residing at 1029 N. 45th,

Waco, TX 76710. $WDOOWLPHVPDWHULDODQGUHOHYDQWKHUHWR3ODLQWLIILVD³FRQVXPHU´DV

defined by the FDCPA, 15 U.S.C. § 1692a (2).

        6.      Defendant, Nationwide Recovery Systems at all times relevant hereto, is

and was a corporation engaged in the business of collecting debt within the State of Texas

with a principle address located at 2304 Tarpley Road, Suite 134, Carrolltown, TX 75006

and with a registered address located at 116 Pine Street, Suite 320, Harrisburg, PA 17101.

        7.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

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§1692a(6).

                            IV.    FACTUAL ALLEGATIONS
        8.      In or around January, 2010, the Plaintiffs began receiving phone calls from

the Defendant regarding an alleged debt owed by the Plaintiff, Jerri.
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        9.      The Defendant failed to identify themselves leading the Plaintiff, Ron, who

answered the phone call, to believe that it was a sales call. The Plaintiff, Ron told the

Defendant that he was not interested.

        10.     7KH'HIHQGDQW¶VDJHQWVZRXOGQRWWHOOWKH3ODLQWLIIVIRUZKRPWKH

Defendant was collecting.

        11.     The Plaintiffs continued to receive harassing phone calls on their home

phone and cell phone from the Defendant using an automated message system, multiple

times a day.

        12.     7KH'HIHQGDQW¶VDJHQWVZHUHYHU\UXGHDQGGHJUDGLQJWRZDUGVWKH3ODLQWLII

Ron calling him a loser and that he was a contributor to the USA recession.

        13.     7KH'HIHQGDQW¶VDJHQWWROGWKH3ODLQWLII5RQWKDWWKH'HIHQGDQWZDVJRLQJ

to put a OLHQRQWKH3ODLQWLIIV¶KRPHZKLFKWKH3ODLQWLIIVGRQRWHYHQRZQDKRPH

        14.     Any time the Plaintiff, Ron inquired about information regarding the phone

FDOOVIURPWKH'HIHQGDQWWKH'HIHQGDQW¶VDJHQWZRXOGKDQJXSRQWKH3ODLQWLII

        15.     The Plaintiff, Ron has consistently told the Defendant to stop calling that

the alleged debt is a result of identity theft and should never have been sent to collections

in the first place.

        16.     The Defendant ceased collection efforts until on or around, October 5,

2010, when the Plaintiff began receiving phone calls again.

        17.     On or around October 5, 2010, the Defendant contacted the Plaintiff for the

first time and was very nasty refusing to identify themselves or give the Plaintiff, Ron any

information regarding the original creditor or the alleged debt.
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       18      7KH 'HIHQGDQW¶V DJHQW RQO\ ZDQWHG WR JHW LQIRUPDWLRQ IURP WKH 3ODLQWLII

Ron and would not discuss other information including how much was allegedly owed or

the possibility of a payment plan.

       19.     The Plaintiff, Ron, received a second phone call on or around, October 5,

2010, E\ WKH 'HIHQGDQW¶V DJHQW ³.DUPLH´ ZKR ZDV PXFh more professional and

indentified herself and gave the Plaintiff, Ron her badge number, ID 3403. The agent,

³.DUPLH´ DOVR WROG WKH 3ODLQWLII WKH address of the call center at which she works.

However, the Plaintiff still was not given information regarding the original creditor.

       19.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

WKHLUDJHQW¶VDFWLRQVZLWKLQFRPSOLDQFHRIWKH)'&3$EXWQHJOHFWHGWRGRVRDQGIDLOHGWR

adequately review those actions to insure compliance with the law.

       20.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       21.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiffs herein.



                                     COUNT I ± FDCPA
       22.     The above paragraphs are hereby incorporated herein by reference.

       23.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by the Plaintiffs for personal, family or household

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       24.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

               § 1692c(a)(1): At any unusual time, unusual place, or unusual time or place

                              known to be inconvenient to the consumer

               § 1692d:       Any conduct that natural consequence of which is to harass,

                              oppress or abuse any person

               § 1692d(5):    Caused the phone to ring or engaged any person in telephone

                              conversations repeatedly

               § 1692d(6):    Placed telephone calls without disclosing his/her identity

               § 1692e:       Any other false, deceptive or misleading representation or

                              means in connection with the debt collection

               § 1692e(2):    Character, amount, or legal status of the alleged debt

               § 1692f:       Any unfair or unconscionable means to collect or attempt to

                              collect the alleged debt

               § 1692g:       Failure to send the consumer a 30-day validation notice

                              within five days of the initial contact

               § 1692g(a)(1): Must state Amount of Debt

       WHEREFORE, Plaintiff respectfully requests that this court enter judgment in

their favor and against Nationwide Recovery Systems for the following:

       a.      Actual damages;

       d.      Statutory damages pursuant to 15 U.S.C. §1692k;
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        c.         5HDVRQDEOHDWWRUQH\¶VIHHVDQGFRVWVRIVXLWSXUVXDQWWR86&N

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.

                                     V.      JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.

                                                  Respectfully submitted,

                                                  WARREN & VULLINGS, LLP


        Date: October 15, 2010                    BY: /s/ Brent F. Vullings
                                                  Brent F. Vullings, Esquire

                                                  Warren & Vullings, LLP
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                                                  Attorney for Plaintiff
